Case 1:21-cv-02519-TWP-MJD Document 59 Filed 11/18/22 Page 1 of 2 PageID #: 561




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 ANDREW THOMAS                                        )
   a/k/a ANDY,                                        )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )       No. 1:21-cv-02519-TWP-MJD
                                                      )
 OOSHIRTS, INC.                                       )
   d/b/a WWW.TEECHIP.COM                              )
   d/b/a WWW.TEETALK.GIFT, et al.,                    )
                                                      )
                               Defendants.            )



                                       SCHEDULING ORDER

        In order to allow the Court to more efficiently and effectively manage the conduct of

 discovery in this matter, on or before December 12, 2022, the parties shall jointly file a "Joint

 Report on the Status of Discovery," which report shall set forth:

        1. A detailed description of all discovery completed to date.

        2. A detailed description of all discovery presently scheduled or pending, including the
        due dates for any pending discovery requests and the scheduled dates for any depositions,
        and the identity of the counsel responsible for completing such discovery.

        3. A detailed description of any discovery disputes presently pending, including the status
        of the resolution of the dispute and the identity of the counsel responsible for resolving
        the dispute.

        4. A detailed description of all discovery that is planned to be completed within the 28-
        day period following the report, including the identity of the counsel responsible for
        completing such discovery.

        5. A description of all known discovery remaining to be completed in this matter,
        including a proposed timetable for the completion of such discovery and the identity of
        the counsel responsible for completing such discovery.

        6. Any other discovery issues any party believes should be brought to the attention of the
        Court so as to avoid any further delays in the completion of discovery in this matter.
Case 1:21-cv-02519-TWP-MJD Document 59 Filed 11/18/22 Page 2 of 2 PageID #: 562




        On the twenty-eighth day following the submission of the parties' Joint Report on the

 Status of Discovery, and on each twenty-eighth day thereafter until the parties report that all

 discovery in this matter has been completed, the parties shall jointly file a "Supplemental Joint

 Report on the Status of Discovery," which report shall set forth:

        1. A detailed description of all discovery completed within the preceding 28 days.

        2. A detailed description of all discovery presently scheduled or pending, including the
        due dates for any pending discovery requests and the scheduled dates for any depositions,
        and the identity of the counsel responsible for completing such discovery.

        3. A detailed description of any discovery disputes presently pending, including the status
        of the resolution of the dispute and the identity of the counsel responsible for resolving
        the dispute.

        4. A detailed description of all discovery that is planned to be completed within the 28-
        day period following the report including the identity of the counsel responsible for
        completing such discovery.

        5. A description of all known discovery remaining to be completed in this matter,
        including a proposed timetable for the completion of such discovery and the identity of
        the counsel responsible for completing such discovery.

        6. Any other discovery issues any party believes should be brought to the attention of the
        Court so as to avoid any further delays in the completion of discovery in this matter.

        SO ORDERED.



        Dated: 18 NOV 2022




 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record via
 email generated by the Court's ECF system.
